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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

 NAM SUH                                           §
 Plaintiff,                                        §
                                                   §
 v.                                                §    CIVIL ACTION NO.__________
                                                   §         JURY DEMANDED
 ACCEPTANCE INDEMNITY                              §
 INSURANCE COMPANY AND                             §
 TIMOTHY PAUL BLACK,                               §
 Defendants.                                       §


    DEFENDANT ACCEPTANCE INDEMNITY INSURANCE COMPANY’S
                         NOTICE OF REMOVAL
________________________________________________________________________

TO THE HONORABLE COURT:

       Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant Acceptance Indemnity

Insurance Company, in Cause No. 2017CI15694, pending in the 285th District Court of

Bexar County, Texas, files this Notice of Removal from that court to the United States

District Court for the Western District of Texas, San Antonio Division, on the basis of

diversity of citizenship and respectfully shows:

                             I. FACTUAL BACKGROUND

       1.1     On August 31, 2017, Plaintiff filed her Original Petition in the matter styled

Nam Suh v. Acceptance Indemnity Insurance Company and Timothy Paul Black, in the

285th District Court of Bexar County, Texas, in which Plaintiff made claims for damages

to her property under her homeowner’s insurance policy.

       1.2     Plaintiff also asserts claims against Timothy Paul Black, the outside

building consultant hired by Acceptance to inspect Plaintiff’s property and prepare an

estimate for the reasonable cost of repair, if any, to Plaintiff’s property. See Ex. D, Orlando

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Rodriguez Aff. Defendant Black provided this estimate to Acceptance for its sole and

exclusive use and consideration. See id.

        1.3        Plaintiff’s Original Petition states that an April 12, 2016 “hail storm and/or

windstorm . . . caus[ed] severe damage” to her property. See Pl.’s Original Pet. ¶ 11.

        1.4        Plaintiff filed a claim with Acceptance under her policy requesting that

Acceptance “cover the cost of repairs, including but not limited to replacement of the roof

and repair of the Property’s interior.” See id. at ¶ 12.

        1.5        Acceptance was served with Plaintiff’s Original Petition on October 25,

2017.

        1.6        The Index of Matters Being Filed is attached as Exhibit A to this notice of

removal. A copy of the Bexar County District Clerk’s file for this case is also attached as

Exhibit B and includes true and correct copies of all executed process, pleadings, and

orders. The Designation of Counsel is attached as Exhibit C. The Affidavit of Orlando

Rodriguez is attached as Exhibit D.

                                      II. BASIS FOR REMOVAL

        2.1        Removal is proper based upon diversity of citizenship under 28 U.S.C. §§

1332, 1441(a) and 1446.

        2.2        At the time the lawsuit was filed, Plaintiff was a resident of the State of

Texas. See Pl.’s Original Pet. ¶ 1.

        2.3        Defendant Acceptance is incorporated as a Nebraska-domiciled insurance

company, and has its principal place of business in North Carolina.

        2.4        Defendant Black is a citizen of the State of Texas, but is not a proper party

to this lawsuit.



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A.      Complete diversity exists between Plaintiff and Acceptance because Defendant
        Black has been improperly joined in this lawsuit.

        2.5     Improper joinder may be established in two ways: (1) actual fraud in the

pleading of jurisdictional facts, or (2) inability of the plaintiff to establish a cause of action

against the non-diverse defendant in state court. Int’l Energy Ventures Mgmt., L.L.C. v.

United Energy Grp., Ltd., 818 F.3d 193, 199 (5th Cir. 2016); Smallwood v. Ill. Cent. R.R.

Co., 385 F.3d 568, 573 (5th Cir. 2003) (en banc). The test for improper joinder is “whether

the defendant has demonstrated that there is no possibility of recovery by the Plaintiff

against an in-state defendant, which stated differently means that there is no reasonable

basis for the district court to predict that the Plaintiff might be able to recover against an

in-state defendant.” Smallwood, 385 F.3d at 573 (citing Travis v. Irby, 326 F.3d 644, 648

(5th Cir. 2003)). To determine whether the plaintiff can recover against the in-state

defendant, the district court can analyze the plaintiff’s petition under the robust federal rule

12(b)(6) standard and determine whether the plaintiff’s petition states a claim. See Int’l

Energy, 818 F.3d at 207-08; see also Smallwood, 385 F.3d at 573. The district court may

also “pierce the pleadings” and conduct a summary-judgment analysis to identify discrete

facts that would preclude recovery against the nondiverse defendant. Smallwood, 385 F.3d

at 573-74. The latter method is applicable when the plaintiff has “misstated or omitted

discrete facts that would determine the propriety of joinder.” Id.; see Gonzalez v. State

Auto Prop. & Cas. Ins. Co., Civ. Action No. 5:17-CV-60, 2017 WL 2633582, at *2 (S.D.

Tex. June 16, 2017).

        2.6     Here, Plaintiff has omitted crucial facts about the nature of Defendant

Black’s involvement in her claim. In her Original Petition, Plaintiff alleges that Black

“conducted a substandard inspection” of her property and “ignored obvious damage to the

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roof and exterior of the structure. See Pl.’s Original Pet. ¶ 13. Plaintiff alleges that Black’s

“estimate also failed to include mandatory overhead and profit.” See id.

        2.7     In connection with the foregoing allegations, Plaintiff then makes claims

against Defendant Black under the Texas Insurance Code’s Unfair Claim Settlement

Practices Act, including that Black: (1) failed to “conduct a reasonable inspection and

investigation of Plaintiff’s damages”; (2) stated that “Plaintiff’s damages were less severe

than they in fact were”; (3) used his “own statements about the non-severity of the damages

as a basis for denying properly covered damages and/or underpaying damages”; (4) failed

to “provide an adequate explanation for the inadequate compensation Plaintiff received”;

(5) misrepresented “material facts relating to the coverage at issue”; (6) failed to “offer

Plaintiff adequate compensation without an explanation as to why full payment was not

being made”; (7) “did not communicate that any future settlements or payments would be

forthcoming to pay for the entire losses” covered under Plaintiff’s policy; (8) failed to

“promptly provide Plaintiff with a reasonable explanation of the basis in the Policy . . . for

the offer of a compromise settlement”; and (9) failed “within a reasonable time to affirm

or deny coverage” of Plaintiff’s claim. See Pl.’s Original Pet. ¶¶ 35, 37-38.

        2.8     But the foregoing claims are only available to plaintiffs against defendants

who are individually liable as “persons” under the Insurance Code. See TEX. INS. CODE

ANN. § 541.003; see also Dagley v. Haag Engineering Co., 18 S.W.3d 787, 792 (Tex.

App.—Houston [14th Dist.] 2000, no pet.).           “Person” is defined as “an individual,

corporation, association, partnership, reciprocal or interinsurance exchange, Lloyd's plan,

fraternal benefit society, or other legal entity engaged in the business of insurance,

including an agent, broker, adjuster, or life and health insurance counselor.” TEX. INS.



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CODE ANN. § 541.002(2) (emphasis added). Defendant Black was not engaged in the

business of insurance when he was inspecting Plaintiff’s property. He was hired by

Acceptance as an outside building inspector to inspect the property and prepare an estimate

solely for Acceptance’s use and consideration. See Ex. D, Orlando Rodriguez Aff., p. 1.

Black is not a licensed adjuster, see Pl.’s Original Pet. ¶ 13, and he did not adjust Plaintiff’s

claims. See Ex. D, Orlando Rodriguez Aff., p. 1. He did not participate in the sale or

servicing of Plaintiff’s insurance policy. See Ex. D, Orlando Rodriguez Aff., pp. 1-2.

Despite Plaintiff’s allegations to the contrary, Black did not make any representations or

decisions regarding the coverage of Plaintiff’s claims under the policy. See id.; see also

Dagley, 18 S.W.3d at 793 (holding that an outside engineering firm was not engaged in the

business of insurance where it did not adjust the claim, sell or service the policy, or make

any coverage decisions).

        2.9     In short, Defendant Black was hired to investigate, not adjust, Plaintiff’s

claim. 3. He was an employee of a third-party company who merely consulted with

Acceptance in the handling of Plaintiff’s claim. The Fifth Circuit Court of Appeals and

the Southern District of Texas have held that such outside consultants are not “‘persons’

engaged in the business of insurance.” See Gonzalez, 2017 WL 2633582, at *2 (citing

Michels v. Safeco Ins., 544 Fed. App’x 535, 540 (5th Cir. 2013)). Indeed, the Northern

District of Texas “has pointed out that equating the investigating and adjusting of an

insurance claim would dramatically expand the coverage of the Texas Insurance Code. Id.

at *3 (citing Eagle Oil & Gas Co. v. Travelers Prop. Cas. Co., No. 712-CV-00133-O, 2013

WL 5969920, at *3 (N.D. Tex. Nov. 8, 2013)). Allowing Plaintiffs to expand the scope of

the statute in this case would not only be unauthorized under Texas law but would thwart



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this Court’s jurisdiction by allowing the improperly joined Defendant Black to remain as a

party.

         2.10   Plaintiff’s allegations misstate and omit discrete facts that are determinative

of the propriety of the joinder of Defendant Black. See Smallwood, 385 F.3d at 573-74.

Because Black was not engaged in the business of insurance when he inspected Plaintiff’s

property and provided Acceptance with an estimate, he is not liable as a “person” under

the Texas Insurance Code, and Plaintiff cannot state a claim against him. Plaintiff’s

omission of these crucial facts means that Plaintiffs did not “‘state enough facts to state a

claim for relief that is plausible on its face.’” See Int’l Energy, 818 F.3d at 207-08 (quoting

Twombly, 550 U.S. at 570). And in the absence of such factual allegations, “‘there is no

reasonable basis for the district court to predict that [P]laintiff might be able to recover

against”’ Defendant Black. See id. at 205 (quoting Smallwood, 385 F.3d at 573; Travis,

326 F.3d 646-47). Defendant Black is an improper party to this lawsuit and should be

dismissed by the Court.

         2.11   Because Acceptance, a foreign defendant, is the only proper defendant in

this action, there is complete diversity of citizenship between the parties. As such, removal

is proper based upon diversity of citizenship under 28 U.S.C. §§ 1332(a)(1), 1441(a), and

1446.

B.       The amount of damages prayed for by Plaintiff exceeds the amount in
         controversy required to confer diversity jurisdiction on this Court.

         2.12   Federal courts have subject matter jurisdiction over actions between citizens

of different states in which the amount in controversy exceeds $75,000. 28 U.S.C.

§1332(a)(1); Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 882 (5th Cir. 2000).

Generally, an amount in controversy for the purposes of establishing federal jurisdiction is

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determined by the Plaintiff’s complaint. De Aguilar v. Boeing Co., 47 F.3d 1404, 1411-12

(5th Cir. 1995).

       2.13    In her Petition, Plaintiff alleges that she “is seeking monetary relief over

$200,000 but not more than $1,000,000.” See Pl.’s Original Pet. ¶ 5. The face of Plaintiff’s

Petition establishes that the amount in controversy exceeds this Court’s requirements.

               III. THE REMOVAL IS PROCEDURALLY CORRECT

       3.1     Defendant Acceptance was first served with Plaintiff’s Original Petition and

process on October 25, 2017. By filing its Notice on this day, November 22, 2017,

Defendant Acceptance files its Notice of Removal within the thirty-day time period

required by 28 U.S.C. §1446(b).

       3.2     Venue is proper in this District and Division under 28 U.S.C. §1446(a)

because this District and Division include the county in which the state action has been

pending and because a substantial part of the events giving rise to Plaintiff’s claims

allegedly occurred in this District and Division.

       3.3     Pursuant to 28 U.S.C. §1446(d), promptly after Acceptance files this

Notice, written notice of the filing will be given to Plaintiff, the adverse party.

       3.4     Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of

Removal will be filed with the Clerk of the Bexar County District Court, promptly after

Acceptance files this Notice.

       3.5     As an improperly joined party, Defendants Black’s consent to this removal

is unnecessary. See Almeida v. Allstate Tex. Lloyds, No. Civ.A. B-05-202, 2005 WL

3348907, at *5 (S.D. Tex. Dec. 8, 2005) (citing Farias v. Bexar Cty. Bd. of Trustees for

MHMR Servs., 925 F.2d 866, 871 (5th Cir. 1991)).



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                                     IV. CONCLUSION

       4.1     Based on the foregoing, the exhibits submitted in support of this Notice, and

other documents filed contemporaneously with this Notice and fully incorporated herein,

Defendant Acceptance Indemnity Insurance Company hereby removes this case to this

Court for trial and determination.



                                                 Respectfully submitted,

                                                 GAULT, NYE & QUINTANA, L.L.P.
                                                 P.O. Box 6666
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                                                 ATTORNEY FOR ACCEPTANCE
                                                 INDEMNITY INSURANCE
                                                 COMPANY




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                           CERTIFICATE OF SERVICE

       I certify that on November 22, 2017, a copy of Defendant Acceptance Indemnity
Insurance Company’s Notice of Removal was electronically filed on the CM/ECF
system, and will be served on the following attorney in charge for Plaintiffs.


VIA CM/RRR # 7016 1970 0000 5544 1602
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                                              By:      /s/ Mikell A. West
                                                    Mikell A. West




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